Case 2:18-cv-01255-JDC-KK Document 170 Filed 03/16/21 Page 1 of 1 PageID #: 6790




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION


 ASHLEY MOREAUX                                     CASE NO. 2:18-CV-01255

 VERSUS                                             JUDGE JAMES D. CAIN, JR.

 CLEAR BLUE INSURANCE CO. ET AL.                    MAGISTRATE JUDGE KAY

                                          ORDER

        Before the court is a “Motion to Certify Judgment for Immediate Appeal and For

 Stay” [doc. 163] filed by defendant James River Insurance Company (“JRIC”) and

 requesting an order permitting a stay of proceedings while that party pursues an

 interlocutory appeal of the undersigned’s denial [doc. 130] of a Motion for Partial

 Summary Judgment [doc. 104]. JRIC does not indicate whether the other parties to this

 action consent to its motion. It also provides no justification for waiting ten days from the

 court’s ruling on the Motion for Summary Judgment to seek its stay.

        Briefing is now underway on the parties’ numerous other pretrial motions, which

 are set for hearing on March 23, 2021, in advance of the jury trial currently scheduled for

 April 19, 2021. In order to avoid any further delay in this matter, the undersigned hereby

 DENIES the “Motion to Certify Judgment for Immediate Appeal and For Stay” [doc. 163].

        THUS DONE AND SIGNED in Chambers on this 16th day of March, 2021.



                         __________________________________
                                 JAMES D. CAIN, JR.
                         UNITED STATES DISTRICT JUDGE
